  AO 435Case 1:21-cr-00121-JJM-LDA        Document 24 Filed 10/11/22                                               Page 1 of 1 PageID #:
(Rev. 04/18)
                            ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS
                                                       132                                                            FOR COURT USE ONLY

                                                                                                                      DUE DATE:
                                                                TRANSCRIPT ORDER
Please Read Instructions:
1. NAME                                                                           2. PHONE NUMBER                     3. DATE
John P. McAdams                                                                  (401) 709-5000                       10/11/2022
4. '(/,9(5< ADDRESS25(0$,/                                                      5. CITY                             6. STATE         7. ZIP CODE
One Financial Plaza, 17th Floor                                                  Providence                           RI                02903
8. CASE NUMBER                               9. JUDGE                                                 DATES OF PROCEEDINGS
1:21CR00121                                  John J. McConnell                    10. FROM 10/6/2022             11. TO 10/6/2022
12. CASE NAME                                                                                       LOCATION OF PROCEEDINGS
U.S. v John Daniel Macintyre                                                      13. CITY Providence            14. STATE RI
15. ORDER FOR
u APPEAL                                     u CRIMINAL                           u CRIMINAL JUSTICE ACT                  u BANKRUPTCY
u NON-APPEAL                                 u CIVIL                              u IN FORMA PAUPERIS                     u OTHER (Specify)
16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

                 PORTIONS                                     DATE(S)                         PORTION(S)                            DATE(S)
u VOIR DIRE                                                                       u TESTIMONY (Specify Witness)
u OPENING STATEMENT (Plaintiff)
u OPENING STATEMENT (Defendant)
u CLOSING ARGUMENT (Plaintiff)                                                    u PRE-TRIAL PROCEEDING (Spcy)
u CLOSING ARGUMENT (Defendant)
u OPINION OF COURT
u JURY INSTRUCTIONS                                                               u OTHER (Specify)
u SENTENCING                                        10/6/2022
u BAIL HEARING
                                                                             17. ORDER
                            ORIGINAL                              ADDITIONAL
 CATEGORY           (Includes Certified Copy to     FIRST COPY                           NO. OF PAGES ESTIMATE                       COSTS
                  Clerk for Records of the Court)
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                     CERTIFICATION (18. & 19.)
           By signing below, I certify that I will pay all charges                          ESTIMATE TOTAL
                        (deposit plus additional).                                                                    $              0.00 0.00
18. SIGNATURE                                                                     PROCESSED BY
/s/ John P. McAdams (R23RIXL0014)
19. DATE                                                                          PHONE NUMBER
10/11/2022
TRANSCRIPT TO BE PREPARED BY                                                      COURT ADDRESS




                                                       DATE             BY
ORDER RECEIVED

DEPOSIT PAID                                                                      DEPOSIT PAID

TRANSCRIPT ORDERED                                                                TOTAL CHARGES                       $              0.00 0.00

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TO PICK UP TRANSCRIPT                                                             TOTAL REFUNDED

PARTY RECEIVED TRANSCRIPT                                                         TOTAL DUE                           $              0.00 0.00
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